8/5/22, 4:52 PM                                             Gmail - Deposition of Defendant Shawna Curtis



           Gmail                                                                             Daniel Horwitz <daniel.a.horwitz@gmail.com>



  Deposition of Defendant Shawna Curtis
 Polly, Erin Palmer<Erin.Polly@klgates.com>                                                                   Wed, Aug 3, 2022 at 8:58 AM
 To: "Daniel A. Horwitz"<daniel@horwitz.law>, "Welborn 111, Joe F."<Joe.Welborn@klgates.com>, "McKelvey, Terrence M."
 <Terrence.McKelvey@klgates.com>
 Cc: Craig Edgington<craig@donatilaw.com>, Brice Timmons<brice@donatilaw.com>, Melissa Dix<melissa@horwitz.law>


    We're fine if you really want to depose Shawna Curtis, but we don't understand why it's necessary. She wasn't employed by CoreCivic
    on December 8, 2020, she didn't work at Trousdale on December 8, 2020, and she didn't complete the classification assessment of
    Tymothy Willis on December 8, 2020. You don't contest this because you ask us to identify the individual who "actually made this
    classification decision." It seems like an unnecessary deposition.



    We understand that April Holmes initiated Willis' reclassification in the system and conducted the hearing as the chairperson. Her
    name is on the form as HOLMAP0l. EPP




     HOLMAP0l                        TENNh.::;SEE DEPARTMENT OF CORRECTl-.,                                 DAT'E:     12/08/2020
                                   CLA.SS!FICATION CUSTODY ASSESSMENT FORM                                  TIMB:      13:56:S8
                                                                                                            PAGE:

       TOMXS ID:          00574845          WILLIS, TYMOTHY B.



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